4:11-cr-03087-JMG-CRZ      Doc # 122    Filed: 09/13/12     Page 1 of 1 - Page ID # 283




                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,               )
                                        )
                   Plaintiff,           )                   4:11CR3087-3
                                        )
             V.                         )
                                        )
CEDRIC WILLIAMS,                        )                     ORDER
                                        )
                   Defendant.           )
                                        )


      I have consulted with counsel regarding the September 6, 2012 letter from the
Bureau of Prisons. (Filing no. 120.) I do not believe that I now have the power to
change or amend the judgment. Counsel agree. I therefore decline to do so.


      IT IS ORDERED that the Court will not change or amend the judgment (filing
no. 116) notwithstanding the letter from the Bureau of Prisons. The Clerk shall mail
a copy of this Order to Jose M. Santana, Chief, Designation and Computation Center,
at the address more particularly shown in filing no. 120.

      DATED this 13 th day of September, 2012.

                                       BY THE COURT:

                                       Richard G. Kopf
                                       Senior United States District Judge
